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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                  SAN FRANCISCO / OAKLAND DIVISION
11
12
     JANE DOE,                                      )   Case No.: 4:22-cv-519
13                                                  )
                     Plaintiff,                     )   PLAINTIFF’S EX PARTE MOTION FOR
14
                                                    )   ADMINISTRATIVE RELIEF TO
15   v.                                             )   PROCEED UNDER PSEUDONYM
                                                    )
16   STANDARD INSURANCE COMPANY,                    )
                                                    )
17
                     Defendants.                    )
18                                                  )
                                                    )
19                                                  )
20
21          Pursuant to Civil Local Rule 7-11, Plaintiff hereby moves the Court for administrative
22   relief in the form of an order permitting her to proceed under a pseudonym. Plaintiff, who has
23   suffered from, among other health problems, major depression and anxiety, brings this suit under
24   the Employee Retirement Income Security Act to recover long-term disability (“LTD”) benefits
25   due to her under a long-term disability benefit plan sponsored by her former employer and
26   insured by the Defendant Standard Insurance Company (“STANDARD”).
27
28    CASE NO. 4:22-cv-519                               1                  PLAINTIFF’S EX PARTE MOTION
                                                                           FOR ADMINISTRATIVE RELIEF TO
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 1          Applying the standards set forth by the Ninth Circuit, Plaintiff’s motion should be granted

 2   because (1) no prejudice to Defendant or the public will result from her anonymity, and (2)

 3   proceeding under her true name would expose Plaintiff to harassment, embarrassment and

 4   discrimination due to the necessary disclosure of highly confidential medical information

 5   including but not limited to information related to any psychiatric health problems Plaintiff may

 6   have had or currently have. To date, Plaintiff has maintained the confidentiality of her psychiatric

 7   health problems. Only limited family, friends, medical personnel, and insurers are aware of such

 8   psychiatric health problems.

 9              A. Legal Standard
10          A party may “preserve his or her anonymity in judicial proceedings in special
11   circumstances when the party’s need for anonymity outweighs prejudice to the opposing party
12   and the public’s interest in knowing the party’s identity.” Does I thru XXIII v. Advanced Textile
13   Corp., 214 F.3d 1058, 108 (9th Cir. 2000). In particular, nondisclosure of a party’s identity is
14   permitted where necessary “to protect a person from harassment, injury, ridicule or personal
15   embarrassment.” Id. (internal quotation omitted). Because a significant stigma attaches to
16   persons with psychiatric health problems, it is necessary to shield Plaintiff’s identity to protect
17   her from fraud, harassment, ridicule or personal embarrassment. It is highly probable that
18   Plaintiff’s professional reputation would be permanently damaged due to the public disclosures
19   of any psychiatric health problems.
20          In Doe v. Provident Life & Acc. Ins. Co., 176 F.R.D. 464, 468-69 (E.D. Pa. 1997) the
21   court granted Doe status for a plaintiff employee benefits and insurance broker filing a disability
22   insurance case, noting that there was a “great risk that Plaintiff will be stigmatized in his
23   professional life” if his identify were disclosed, as there was “a strong possibility that some of
24   these attorneys will follow this case in legal publications with the result being that plaintiff's
25   professional reputation will be permanently damaged.”) See also Doe v. Standard Ins. Co., 2015
26   WL 5778566 at * 3 (D.Me. Oct. 2, 2015). There is no legitimate public interest in connecting
27   Plaintiff’s real identity with the confidential medical information that the Court must consider in
28    CASE NO. 4:22-cv-519                                 2                     PLAINTIFF’S EX PARTE MOTION
                                                                                FOR ADMINISTRATIVE RELIEF TO
                                                                                  PROCEED UNDER PSEUDONYM
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 1   adjudicating her disability claim. In fact, the public interest is best served by allowing Plaintiff

 2   to litigate her claim under a pseudonym.

 3              B. Defendant Will Not Be Prejudiced
 4          Allowing Plaintiff to proceed pseudonymously will not prejudice the Defendant
 5   STANDARD, her disability insurer. Defendant can ascertain Plaintiff’s identity from the
 6   complaint, which pleads Plaintiff’s claim number for the purpose of allowing Defendants to
 7   identify her. (Doc. # 1 at ¶ 5). Thus, allowing Plaintiff to proceed under a fictitious name will
 8   have no effect on Defendant’s ability to prepare their defense. Further, this case is a
 9   straightforward application of medical evidence to contract terms, the Defendant’s character and
10   reputation is not at issue, and thus there is no risk that Defendant will be prejudiced by
11   anonymous attacks on its character. Cf. Doe v. Lepley, 185 F.R.D., 605, 607 (D. Nev. 1999).
12   Because Defendant will know Plaintiff’s identity and Plaintiff is not attacking Defendant’s
13   character or reputation, Plaintiff’s legitimate interest in shielding her identity outweighs any
14   potential prejudice to the Defendant.
15
                C. The Public Interest Will be Best Served Without Disclosure of Plaintiff’s
16                 Name
17          This is a garden variety individual dispute about an insurance claim. The public has no

18   legitimate interest in connecting Plaintiff’s real name to the extremely private medical facts that

19   the Court will need to consider in this case. Medical privacy is a core American value protected

20   by numerous federal and state statutes and preserving mental health privacy in particular is an

21   important policy goal of the federal government. As noted by the Third Circuit, “[e]xamples of

22   areas where courts have allowed pseudonyms include cases involving ‘abortion, birth control,

23   transexuality, mental illness, welfare rights of illegitimate children, AIDS, and homosexuality.’”

24   Doe v. Megless, 654 F.3d 404, 408 (3rd Cir. 2011)(quoting Doe v. Borough of Morrisville, 130

25   F.R.D. 612, 614 (E.D.Pa.1990)); see also Doe v. Provident Life and Acc. Ins. Co., 176 F.R.D.

26   464, 468 (E.D. Pa. 1997)(stating “the public has an interest in preventing the stigmatization of

27
28    CASE NO. 4:22-cv-519                                 3                    PLAINTIFF’S EX PARTE MOTION
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 1   litigants with mental illnesses. Further, plaintiff's identity should be protected in order to avoid

 2   deterring people with mental illnesses from suing to vindicate their rights.”)

 3          While the public certainly has an interest in open judicial proceedings, here, that interest

 4   is actually better served by allowing Plaintiff to proceed under a fictitious name. First, putting

 5   plaintiffs in the position of either abandoning legitimate legal claims or publicly disclosing

 6   highly confidential medical information would harm the judicial system and the rule of law as a

 7   whole because of the risk that plaintiffs with significant and private medical problems will

 8   forego their legal rights in favor of preserving their privacy. Jayne S. Ressler, Privacy, Plaintiffs,

 9   and Pseudonyms: The Anonymous Doe Plaintiff in the Information Age, 53 U. Kan. L. Rev. 195,

10   199 (2004).

11          Second, allowing Plaintiff to proceed under a pseudonym and taking other basic

12   measures to ensure that her name is redacted from documents filed in the public record will do

13   away with any need to seal any of the Court’s decisions in this case, the other means by which

14   her privacy might be protected. Sealing documents requires extensive court resources and

15   complicates the progress of the litigation, it also deprives the public and other courts from access

16   to the full case record, which may provide valuable information about the application of similar

17   contractual terms to similar medical facts. Plaintiff’s real name, on the other hand, has no

18   legitimate value to the public generally or to the courts and their personnel. By using the

19   pseudonym, the parties will be able to openly discuss the medical evidence in the public record

20   without compromising Plaintiff’s medical privacy. Proceeding anonymously thus actually

21   enhances the public’s view of the legal and factual issues in this case and the court’s

22   performance in resolving them. Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981); see also Doe

23   v. Unum Life Ins. Co. of Am., 2014 WL 1599919, at *2 (E.D. Pa. Apr. 18, 2014)(noting “Doe and

24   Defendants note that Doe is not a public figure and disclosure of her identity would not promote

25   any public interest.”)

26          Because there is no prejudice to the Defendant or the public by allowing Plaintiff to

27   proceed under a pseudonym, and because Plaintiff has an exceptional need for privacy in light of

28    CASE NO. 4:22-cv-519                                 4                    PLAINTIFF’S EX PARTE MOTION
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 1   the specific medical facts at issue in this case, the Court should grant Plaintiff’s motion and issue

 2   the summons.

 3
 4                                                         Respectfully submitted,

 5   Dated: January 26, 2022                               BOLT KEENLEY KIM LLP
 6
                                                       By: /s/ Brian H. Kim
 7                                                        Brian H. Kim
                                                          Attorneys for Plaintiff
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28    CASE NO. 4:22-cv-519                                5                    PLAINTIFF’S EX PARTE MOTION
                                                                              FOR ADMINISTRATIVE RELIEF TO
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